Case 2:21-cv-08625-JWH-RAO Document 12 Filed 01/06/22 Page 1 of 2 Page ID #:43




   1
       STEPHEN M. LOBBIN
       sml@smlavvocati.com
   2   SML AVVOCATI P.C.
   3
       888 Prospect Street, Suite 200
       San Diego, California 92037
   4   (949) 636-1391 (Phone)
   5
       Attorney(s) for Rothschild Patent Imaging, LLC
   6

   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        ROTHSCHILD PATENT IMAGING,
        LLC,                                         CASE NO.: 2:21-cv-08625-JWH-RAO
  11
                            Plaintiff,               PATENT CASE
  12
        v.
  13

  14    EVITE, INC.,

  15                        Defendant.               NOTICE OF VOLUNTARY
                                                     DISMISSAL WITH PREJUDICE
  16

  17         Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
  18   Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
  19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
  20   by the plaintiff without order of court by filing a notice of dismissal at any time before
  21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
  22   dismisses this action against Defendant Evite, Inc. with prejudice, pursuant to Rule
  23   41(a)(1)(A)(i) with each party to bear its own fees and costs.
  24

  25

  26

  27

  28

                                                 1
                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:21-cv-08625-JWH-RAO Document 12 Filed 01/06/22 Page 2 of 2 Page ID #:44




   1   Dated: January 6, 2022                 Respectfully submitted,
   2
                                              /s/Stephen M. Lobbin
   3                                          Stephen M. Lobbin
   4
                                              sml@smlavvocati.com
                                              SML AVVOCATI P.C.
   5                                          888 Prospect Street, Suite 200
   6                                          San Diego, California 92037
                                              (949) 636-1391 (Phone)
   7

   8                                          Attorney(s) for Plaintiff

   9
                                  CERTIFICATE OF SERVICE
  10
             I hereby certify that on January 6, 2022, I electronically transmitted the
  11
       foregoing document using the CM/ECF system for filing, which will transmit the
  12
       document electronically to all registered participants as identified on the Notice of
  13
       Electronic Filing, and paper copies have been served on those indicated as non-
  14
       registered participants.
  15                                          /s/Stephen M. Lobbin
  16                                          Stephen M. Lobbin

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                 2
                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
